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 8                    UNITED STATES DISTRICT COURT
 9                  SOUTHERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                       Criminal Case No. 13CR3880-H
12                             Plaintiff,             JUDGMENT AND ORDER OF
                                                      DISMISSAL
13                       v.
14
      RAMON JEREMIAH ORTIZ (3)
15       also known as Ramon Ortiz,
16                             Defendant.
17
           GOOD CAUSE APPEARING and upon the motion of the government, IT IS
18
     HEREBY ORDERED that the Information in the above entitled case against
19
     defendant Ramon Jeremiah Ortiz is dismissed without prejudice. The defendant is
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     hereby discharged and the bond in this case is hereby exonerated.
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           IT IS SO ORDERED AND ADJUDGED.
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23
24    Dated: July 2, 2014
                                                 HONORABLE MARILYN L. HUFF
25                                               UNITED STATES DISTRICT JUDGE
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